Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 1 of 196




                      EXHIBIT A
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 2 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 3 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 4 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 5 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 6 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 7 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 8 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 9 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 10 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 11 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 12 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 13 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 14 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 15 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 16 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 17 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 18 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 19 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 20 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 21 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 22 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 23 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 24 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 25 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 26 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 27 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 28 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 29 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 30 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 31 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 32 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 33 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 34 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 35 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 36 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 37 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 38 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 39 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 40 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 41 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 42 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 43 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 44 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 45 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 46 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 47 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 48 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 49 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 50 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 51 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 52 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 53 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 54 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 55 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 56 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 57 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 58 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 59 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 60 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 61 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 62 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 63 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 64 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 65 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 66 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 67 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 68 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 69 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 70 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 71 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 72 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 73 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 74 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 75 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 76 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 77 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 78 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 79 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 80 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 81 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 82 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 83 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 84 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 85 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 86 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 87 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 88 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 89 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 90 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 91 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 92 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 93 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 94 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 95 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 96 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 97 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 98 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 99 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 100 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 101 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 102 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 103 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 104 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 105 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 106 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 107 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 108 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 109 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 110 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 111 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 112 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 113 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 114 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 115 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 116 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 117 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 118 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 119 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 120 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 121 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 122 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 123 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 124 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 125 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 126 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 127 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 128 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 129 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 130 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 131 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 132 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 133 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 134 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 135 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 136 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 137 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 138 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 139 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 140 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 141 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 142 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 143 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 144 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 145 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 146 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 147 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 148 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 149 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 150 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 151 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 152 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 153 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 154 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 155 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 156 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 157 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 158 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 159 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 160 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 161 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 162 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 163 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 164 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 165 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 166 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 167 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 168 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 169 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 170 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 171 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 172 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 173 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 174 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 175 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 176 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 177 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 178 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 179 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 180 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 181 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 182 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 183 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 184 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 185 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 186 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 187 of 196   L1
                                 3




                                                       2/24/2022




                                                                     RM
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 188 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 189 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 190 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 191 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 192 of 196
                  Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 193 of 196


                                                                            4                                                                       L1


                                                 Commonwealth of Massachusetts

               MIDDLESEX,SS                                                          TRIAL COURT OF THE COTMTMONWEALTH
                                                                                     SUPERIOR COURT DEPARTTVENT
                                                                                     C lvl L DOCKET N O.2zsrc!_006i_L


               M..r    h.-,\ fr..;h                 , PLAINTIFF(S),                                                                          3/21/2022

                                                                                ec   ln (enfcr
TL     t;a"g

                                                                            SUMMONS

               THlSSUlVtVloNSISDlRECTEDToib?iffi;;i};;"!'.^*.,-
               You are being    sued. The Plaintiff(s)   named above has started a lawsuit against you. A copy of the
               Plain                               you is attached to this summons and the original complaint has been
               filed                                     Court. YOU MUSTACT PROMPTLY TO PROTECT YOUR RIGHTS.

               You must respond to this lawsuit in writing within 20 days. lf you do not respond, the court may decide
               the case against you and award the Plaintiff everything asked for in the complaint. You will also lose the
               opportunity to tell your side of the story. You must respond to this lawsuit in writing even if you expect
               to resolve this matter with the Plaintiff. lf you need more time to respond, you may request an
               extension of time in writing from the Court.
  2.           How to Respond. To respond to this lawsuit, you must file a written response with the count and mail a
               copy to the Plaintiff's Attorney (or the Plaintiff, if unrepresented) You can do this by:
          a.   Filing your signed                                the Clerk's Office for C ivi I B u s   i   n   esslt"HLj\-Slbt      wt
 to(i                                                            person, AND
          b.   Delivering or mailing a copy of your respo             to the                                         the followino


     3.        What to include in your response An          tt
                                                                                         a       D   Lour r"i
                                                                     one type of response to a Complaint. Your Answer
                                                                                                                     i;;; c-rlirle /\iA             Dr7'r"l

               must state whether you agree or disagree with the fact(s) alleged in each paragraph of the Complaint.
               Some defenses, called affirmative defenses, must be stated in your Answer or you may lose your right to
               use them in court. If you have any claims against the Plaintiff (referred to as counterclaims) that are
               based on the same facts or transaction described in the Complaint, then you must include those claims
               in your Answer. Otherwise, you may lose your right to sue the Plaintiff about anything related to this
               Iawsuit. lf you want to have your case heard by a jury you must specifically request     a jury trial in your
               Answer or in a written demand for a jury trial that you must send to the other side and file with the
               court no more than 10 days after sending your Answer. You can also respond to a Complaint by filing a
               "Motion to Dismiss," if you believe that the complaint is legally invalid or legally insufficient. A lVlotion
               toDismissmustbebasedononeofthelegal deficienciesorreasonslistedunderMass.R.Civ.P.                                          12. lf
               you are filing a lvlotion to Dismiss, you must also comply with the filing procedures for "Civil Motions"
               described in the rules of the Court in which the complaint was filed, available at
               www. mass. gov.cou rts/case-lega l-res/ru les of cou rt.
      Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 194 of 196




4.   Legal Assistance. You may wish to get legal help from a lawyer. If you cannot get legal help, some basic
     information for people who represe nt themselves is available at www.mass.gov/courts/selfhel p.
6    Required information on all filings: The "civil docket number" appearing at the top of this notice is the
     case number assigned to this case and must appear on the front of your Answer or N/otion to Dismiss.
     You should refer to yourself as the "Defendant."

     Witness Hon. Heidi Brieger, Chief Justice on                                    ,20   _.



              A.      ivan




     Note: The number assigned to the Complaint by the Clerk-lt4agistrate at the beginning of the lawsuit should be indicated on the
     summons before it is served on the Defendant.




                                           PROOF OF SERVICE OF PROCESS

               I hereby certify that on                     I /t,            ,2072?,1 served a copy of this summons,
     together with a copy of the complaint in this action, on the defendant named in this summons, in the
     following manner (See lvtass. R. Civ. P. (d)(l-5)):
                fi,   Hq^t>
                                            tu




     Dated:                         0            ,2072,                                              o&-A
     N.B.      TO PROCESS SERVER:


               PLEASE ENTER THE DATE THAT YOU MADE SERVICE ON THE DEFENDANT IN THIS BOX - BOTH
     ON THE ORIGINAL SUMMONS AND ON THE COPY OF THE SUMMONS SERVED ON THE DEFENDANT.




                                                                                  s/'o                            20g
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 195 of 196
Case 1:22-cv-10473-NMG Document 1-1 Filed 03/29/22 Page 196 of 196
